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 Samsung Telecommunications America, LLC



                             UNITED STATES DISTRICT COURT

               NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

 APPLE INC., a California corporation,          CASE NO. 11-cv-01846-LHK

               Plaintiff,                       SAMSUNG’S ADMINISTRATIVE
                                                   MOTION TO FILE UNDER SEAL
        vs.                                     DOCUMENTS RELATING TO
                                                   SAMSUNG’S NOTICE OF MOTION AND
 SAMSUNG ELECTRONICS CO., LTD., a               MOTION FOR PARTIAL SUMMARY
    Korean business entity; SAMSUNG                JUDGMENT
 ELECTRONICS AMERICA, INC., a New
    York corporation; SAMSUNG
 TELECOMMUNICATIONS AMERICA,
    LLC, a Delaware limited liability company,

                  Defendants.
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                                                                     Case No. 11-cv-01846-LHK
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 1          Pursuant to Civil Local Rules 7-11 and 79-5, Defendants Samsung Electronics Co., Ltd.,

 2 Samsung Electronics America, Inc., and Samsung Telecommunications America, LLC

 3 (collectively, “Samsung”)1 hereby bring this administrative motion for an order to seal certain

 4 information filed in connection with Samsung’s Notice of Motion and Motion for Partial

 5 Summary Judgment.

 6          Samsung does not file a proposed redacted version of the aforementioned documents in

 7 accordance with the Court’s Order requiring the parties to meet and confer before filing public

 8 redacted documents. Case No. 11-cv-01846, Dkt. No. 2934 (Jan. 29, 2014). Within seven days of

 9 Apple or any third party filing declarations in support of sealing, if any, the parties will prepare

10 and Samsung will file a final consolidated and conformed copy of the materials identifying what

11 information parties have supported sealing in their declarations.

12                                        RELIEF REQUESTED
13          Samsung requests an order granting Samsung’s motion to file under seal the following

14 documents:

15                   Document                    Portions to be Filed Under        Parties Claiming
                                                            Seal                    Confidentiality
16
       Samsung’s Notice of Motion and           The portions highlighted in       Apple
17     Motion for Partial Summary               the version of the document
       Judgment                                 Samsung will file with the
18
                                                Court indicating the portions
19                                              Apple claims are confidential.
       Exhibit E to the Declaration of Mark     The portions highlighted in       Apple
20     Gray in Support of Samsung’s             the version of the document
       Notice of Motion and Motion for
21     Partial Summary Judgment -               Samsung will file with the
       January 15, 2018 Opening Expert          Court indicating the portions
22     Report of Susan Kare                     Apple claims are confidential.

23     Exhibit G to the Declaration of          Entire document.                  Samsung
       Mark Gray in Support of Samsung’s
24     Notice of Motion and Motion for
       Partial Summary Judgment -
25

26      1
         Effective January 1, 2015, Samsung Telecommunications America (“STA”) merged with
   and into Samsung Electronics America, and therefore STA no longer exists as a separate
27 corporate entity.

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 1               Document                    Portions to be Filed Under       Parties Claiming
                                                        Seal                   Confidentiality
 2
     Excerpts from the Transcript of the
 3   Deposition of DongWook Kim on
     December 22, 2017
 4
     Exhibits J through N to the            Entire documents.                Samsung
 5   Declaration of Mark Gray in
     Support of Samsung’s Notice of
 6   Motion and Motion for Partial
     Summary Judgment - Confidential
 7
     Service Manuals for Samsung's
 8   Phones
     Exhibit O to the Declaration of        The portions highlighted in      Apple
 9
     Mark Gray in Support of Samsung’s      the version of the document
10   Notice of Motion and Motion for        Samsung will file with the
     Partial Summary Judgment -             Court indicating the portions
11   Apple’s Interrogatory Response         Apple claims are confidential.
12

13   Exhibit P to the Declaration of Mark   Entire document.                 Samsung
     Gray in Support of Samsung’s
14   Notice of Motion and Motion for
     Partial Summary Judgment -
15   Samsung’s Product Specification
     Documents
16
     Exhibit S to the Declaration of Mark   The portions highlighted in      Apple
17   Gray in Support of Samsung’s           the version of the document
     Notice of Motion and Motion for        Samsung will file with the
18
     Partial Summary Judgment -             Court indicating the portions
19   excerpts from the transcript of the    Apple claims are confidential.
     deposition of Alan D. Ball on
20   February 13, 2018
21   Exhibit T to the Declaration of Mark   The portions highlighted in      Apple
     Gray in Support of Samsung’s           the version of the document
22   Notice of Motion and Motion for
     Partial Summary Judgment -             Samsung will file with the
     excerpts from the transcript of the    Court indicating the portions
23                                          Apple claims are confidential.
     deposition of Susan Kare on
24   February 16, 2018
     Exhibit A to the Declaration of Sam    The portions highlighted in      Apple
25   Lucente in Support of Samsung's        the version of the document
     Notice of Motion and Motion for
     Partial Summary Judgment - Sam         Samsung will file with the
26                                          Court indicating the portions
     Lucente Expert Report
                                            Apple claims are confidential.
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 2 I.       COMPELLING REASONS EXIST TO PERMIT FILING UNDER SEAL
 3          Samsung moves to seal information designated highly confidential by Apple and expects
 4 that Apple will file the required supporting declaration in accordance with Civil Local Rule 79-5

 5 as necessary to confirm whether the information should be sealed. Samsung also maintains a

 6 claim of confidentiality as to confidential product manufacturing documents, the identification of

 7 some of Samsung’s suppliers, and confidential technical information regarding the repair of

 8 Samsung’s products, as detailed in the chart above. Samsung does not presently file a proposed

 9 redacted version of the aforementioned documents in accordance with the Court’s Order requiring

10 the parties to meet and confer before filing public redacted documents. Case No. 11-cv-01846,

11 Dkt. No. 2934 (Jan. 29, 2014). Within seven days of Apple or any third party filing declarations

12 in support of sealing, if any, the parties will prepare and Samsung will file final consolidated and

13 conformed copies of the materials sought to be sealed identifying what information parties have

14 supported sealing in their declarations.

15          When parties seek to file under seal materials in connection with a dispositive motion, such
16 as a motion for summary judgment, “unless a particular court record is one traditionally kept

17 secret, a strong presumption in favor of access to judicial records is the starting point.” Kamakana

18 v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (internal citations and quotations
19 omitted). The party seeking to seal thus bears the burden to articulate “compelling reasons

20 supported by specific factual findings that outweigh the general history of access and the public

21 policies favoring disclosure.” Id. at 1178–79. In this District, parties seeking to seal judicial

22 records must also follow Civil L.R. 79–5, which requires that a sealing request be “narrowly

23 tailored to seek sealing only of sealable material.” Civil L.R. 79–5(b). Where the submitting

24 party seeks to file under seal a document designated confidential by another party (the

25 “designating party”), the burden of articulating compelling reasons for sealing is placed on the

26 designating party. Id. at 79–5(e); see also Cowan v. GE Capital Retail Bank, No. 13–cv–03935–
27 BLF, 2015 WL 1324848, at *1 (N.D. Cal. Mar. 24, 2015).

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 1          The present request satisfies this standard as to the information that Samsung requests to

 2 seal. In this district, materials regarding a party’s confidential business practices are properly

 3 sealable under the compelling reasons standard. See, e.g., Schwartz v. Cook, No. 5:15-cv-03347-

 4 BLF, 2016 WL 1301186, at *2 (N.D. Cal. Apr. 4, 2016) (sealing “information about [a party’s]

 5 business performance, structure, and finances that could be used to gain unfair business advantage

 6 against them”); Koninklijke Philips N.V. v. Elec-Tech International Co., Ltd., No.14–cv–02737–

 7 BLF, 2015 WL 581574, at *1-2 (N.D. Cal. Deb. 10, 2015) (sealing “information about [a party’s]

 8 business practices, recruitment efforts, and discussions regarding potential partnerships with other

 9 product manufacturers”); Delphix Corp. v. Actifio, Inc., No. 13–cv–04613–BLF, 2014 WL

10 4145520, at *2 (N.D. Cal. Aug. 20, 2014) (sealing documents containing “highly sensitive

11 information regarding [a party’s] product architecture and development”).

12          Here, Samsung makes a narrowly tailored request to seal materials that contain highly

13 confidential information about Samsung’s relationships with manufacturers and suppliers, product

14 specifications, and technical information regarding the repair of Samsung’s products. This type of

15 information is highly confidential to Samsung and Samsung takes extraordinary steps to maintain

16 the secrecy of such information. Samsung would face harm from public disclosure of the supplier,

17 product specification, and technical information identified in Notice of Motion and Motion for

18 Partial Summary Judgment and the Exhibits thereto. Competitors could use this highly
19 confidential information, which reveals Samsung’s product architecture, development, and

20 supplier relationships, to gain an unfair business advantage against Samsung. Such highly

21 confidential business information is properly sealable.

22 II.      CONCLUSION

23          For the foregoing reasons, Samsung respectfully requests that the Court grant this
24 Administrative Motion to File Under Seal.

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 1 DATED: February 23, 2018        QUINN EMANUEL URQUHART &
                                   SULLIVAN, LLP
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 3

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 9                                     LTD., SAMSUNG ELECTRONICS AMERICA,
                                       INC., and SAMSUNG
10                                     TELECOMMUNICATIONS
11                                     AMERICA, LLC

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